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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


AUSTIN PLUMMER,                                       Civil Action No. 19-453-KBJ

Plaintiff,

v.

GOVERNMENT OF THE DISTRICT OF
COLUMBIA, et al.,

Defendants.


              ANSWER TO PLAINTIFF’S AMENDED COMPLAINT
     DEFENDANTS THE DISTRICT OF COLUMBIA, JEANETTE MYRICK, SHELLY
                     CHISHOLM, AND KEVIN PROCTOR

        Defendants the District of Columbia (pled as “Government of the District of Columbia”;

henceforth “the District”), Jeanette Myrick, Shelly Chisholm, and Kevin Proctor (collectively

“Answering Defendants”), by and through undersigned counsel, hereby respond to Plaintiff’s

Amended Complaint (ECF DKT # 1-1, Exhibit 2) as follows:

                                           FIRST DEFENSE

        The Amended Complaint fails to state a claim upon which relief may be granted against

the Answering Defendants.

                                         SECOND DEFENSE

        In response to the numbered allegations of the Amended Complaint, the Answering

Defendants respond as follows:

                                          INTRODUCTION 1

        1.      The factual allegations in this paragraph are denied.

1
 For convenience and ease of reference only, the District utilizes the headings appearing in Plaintiff’s
Complaint in providing its response to the paragraphs contained therein.
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         2.       Admitted that Plaintiff names these Defendants.

                                                   PARTIES

         3.       The District lacks sufficient information to either admit or deny the allegations in

this paragraph.

         4.       Admitted.

         5.       Admitted.

         6.       Denied. Myrick was the Records Administrator for DOC during the relevant

time.

         7.       Denied. In 2017, Denise Thompson and Shelly Chisolm were Correctional

Program Officers at DOC. Kevin Proctor and Robin Brown were Supervisor Legal Instruments

Examiners at DOC.

         8.       Admitted only that the Answering Defendants acted within the scope of their

employment.

                                    FACTUAL ALLEGATIONS

         9.       Admitted.

         10.      Admitted.

         11.      Denied. Plaintiff was placed in D.C. Jail pursuant to the sentencing order of the

Court.

         12.      Denied. Plaintiff was not entitled to release on August 23, 2017.

         13.      Denied.

         14.      Denied.

         15.      Admitted that the District of Columbia Department of Corrections has a records

office. All other allegations of Paragraph 15 are denied.




                                                   2.
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       16.     Denied.

       17.     Denied.

       18.     Denied.

       19.     Denied.

       20.     Denied.

       21.     Admitted.

       22.     Denied.

       23.     Denied.

       24.     Denied.

       25.     Denied.

       26.     Denied.

       27.     Denied.

       28.     Denied.

       29.     Denied.

       30.     Denied.

       31.     Denied.

       32.     Denied.

       33.     Denied.

       34.     Denied.

       35.     Denied.

       36.     Admitted that the District of Columbia Department of Corrections has a records

office. All other allegations of Paragraph 15 are denied.




                                                3.
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       37.     Answering Defendants do not know what Plaintiff means by “a paper system for

tracking cases.” Consequently, Defendants deny this allegation and demand strict proof.

       38.     Admitted.

       39.     Denied.

       40.     Denied.

       41.     Denied.

       42.     Denied.

       43.     Denied.

       44.     Denied.

       45.     Denied.

       46.     Denied.

       47.     Denied.

       48.     Denied.

       49.     Denied.

       50.     Plaintiff’s characterizations of this document, which speaks for itself, are denied.

       51.     Plaintiff’s characterizations of this document, which speaks for itself, are denied.

       52.     Plaintiff’s characterizations of this document, which speaks for itself, are denied.

       53.     Plaintiff’s characterizations of this document, which speaks for itself, are denied.

       54.     Answering Defendants lack knowledge necessary to respond to this paragraph,

and therefore denies the allegations and demands strict proof

       55.     Denied.

       56.     Denied.

       57.     Denied.




                                                 4.
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                                             COUNT I

          Common Law Liability of Individual Defendants for False Imprisonment

       58.     Answering Defendants repeat and reiterate their responses to the numbered

paragraphs, above as if fully set forth and incorporated herein.

       59.     Admitted.

       60.     Denied. Plaintiff was placed pursuant to the sentencing order of the Court.

       61.     Denied.

       62.     Denied.

       63.     Denied.

       64.     Admitted only that Plaintiff was properly released on October 6, 2017, per the

terms of his sentence. All other allegations in this paragraph are denied.

       65.     Denied.

       66.     Denied.

WHEREFORE, Answering Defendants deny that Plaintiff is entitled to the relief sought and

demands dismissal of all of said claims with prejudice, plus costs.


                                            COUNT II

                         [Missing From Plaintiff’s Amended Complaint]

       To the extent that Plaintiff has pled a Count II in his Amended Complaint, the claims in
that Count are denied.

                                            COUNT III

Supervisory Liability of Individual Defendants for false imprisonment and over-detention

       67.     Answering Defendants repeat and incorporate their responses to the numbered

paragraphs above as if fully set forth herein.

       68.     Denied.


                                                 5.
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        69.    Denied.

        70.    Denied.

        71.    Denied.

WHEREFORE, Answering Defendants deny that Plaintiff is entitled to the relief sought and

demands dismissal of all of said claims with prejudice, plus costs.


                                            COUNT IV

   Supervisory Liability of Jeannette Myrick for Mr. Plummer’s false imprisonment and
                                       overdetention

        72.    Answering Defendants repeat and incorporate their responses to the numbered

paragraphs, above as if fully set forth herein.

        73.    Denied. Myrick was the Records Administrator for DOC during the relevant

time.

        74.    Admitted that Myrick was the Records Administrator for DOC during the relevant

time. Denied that Myrick was the direct supervisor of the Legal Instrument Examiners.

        75.    Denied that the Legal Instrument Examiners are responsible for processing release

orders for all inmates.

        76.    Admitted only that Myrick was the Records Administrator for DOC, a

supervisory position. Plaintiff’s remaining factual allegations are denied and Plaintiff is left to

his proofs.

        77.    Admitted only that part of Myrick responsibilities include supervising the Records

Office. The Records Office is responsible for ensuring that inmates are released in accordance

with their sentence.

        78.    Denied.

        79.    Denied.


                                                  6.
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       80.     Denied.

       81.     Denied.

       82.     Denied.

WHEREFORE, Answering Defendants deny that Plaintiff is entitled to the relief sought and

demands dismissal of all of said claims with prejudice, plus costs.


                                             COUNT V

    Liability of District of Columbia in Respondeat Superior for the Misconduct of its
                                         Employees

       83.     Answering Defendants repeat and incorporate their responses to the numbered

paragraphs above as if fully set forth herein.

       84.     Denied.

       85.     Admitted.

       86.     Denied.

       87.     Denied.

WHEREFORE, Answering Defendants deny that Plaintiff is entitled to the relief sought and

demands dismissal of all of said claims with prejudice, plus costs.


                                            COUNT VI

                  § 1983 Liability of District of Columbia for Overdetentions

       88.     Answering Defendants repeat and incorporate their responses to the numbered

paragraphs, above as if fully set forth herein.

       89.     Denied.

       90.     Denied.

       91.     Denied.



                                                  7.
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       92.       Denied.

       94.       Denied.

           WHEREFORE, Answering Defendants deny that Plaintiff is entitled to the relief sought

and demands dismissal of all of said claims with prejudice, plus costs.


       WHEREFORE, Answering Defendants the District of Columbia (pled as “Government of

the District of Columbia”; henceforth “the District”), Jeanette Myrick, Shelly Chisholm, and

Kevin Proctor and Theodore Dyson deny any and all allegations not specifically admitted in

Paragraphs 1 to 94 and demand proof thereof. Further, Answering Defendants denies that

Plaintiff is entitled to the relief sought and demands dismissal of all of said claims with

prejudice, plus costs.


                                PLAINTIFF’S PRAYER FOR RELIEF


       1.        Denied that Plaintiff is entitled to this relief.


       2.        Denied that Plaintiff is entitled to this relief.


       3.        Denied that Plaintiff is entitled to this relief.


                                           THIRD DEFENSE

       The District, its agents, servants and employees acted at all times relevant herein

consistently with all applicable laws, rules, regulations, constitutional provisions and standards

of care.

                                         FOURTH DEFENSE




                                                     8.
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       The District, its agents, servants and employees acting with the course and scope of their

employment, have performed their obligations, if any, toward the Plaintiff in accordance with all

applicable regulatory, statutory, constitutional and common law requirements.

                                        FIFTH DEFENSE

       Plaintiff may have failed to exhaust his administrative remedies including but not limited

to the Prison Litigation Reform Act of 1995 and failed to comply with other mandatory filing

requirements.

                                       SIXTH DEFENSE

       Plaintiff’s claims may be barred by the doctrines of estoppel, laches, and unclean hands.

                                     SEVENTH DEFENSE

       If Plaintiff was injured or damaged as alleged in the complaint, such injuries and/or

damages may have resulted from Plaintiff’s own willful, negligent, or reckless conduct.

                                      EIGHTH DEFENSE

       If Plaintiff was injured or damaged as alleged in the complaint, such injuries and/or

damages may have resulted from the conduct of third parties whose negligence or intentional

conduct constitutes a superseding and intervening cause of Plaintiff’s injuries and damages, thus

reducing or eliminating any reasonable damages against the District.

                                       NINTH DEFENSE

       If Plaintiff was injured or damaged as alleged in the Complaint, said injuries and/or

damages may have resulted from Plaintiff’s own contributory negligence and/or assumption of

risk, thus reducing or eliminating any reasonable damages against the Answering Defendants.

                                       TENTH DEFENSE

       The District actions or the actions of its employees as alleged in the Complaint were not

the proximate cause of any injuries, losses, or damages to Plaintiff.


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                                    ELEVENTH DEFENSE

       All actions taken by the Answering Defendants relating to Plaintiff were necessary,

reasonable, and pursuant to lawful authority.

                                    TWELFTH DEFENSE

       Plaintiff may have failed to mitigate any damages he may have incurred..

                                  THIRTEENTH DEFENSE

       Plaintiff may have failed to meet the applicable statute of limitations.

                                  FOURTEENTH DEFENSE

       Plaintiff has failed to comply with the mandatory notice requirements of D.C. Code § 12-

309.

                                    FIFTEETH DEFENSE

       Plaintiff’s claims may be barred by collateral estoppel and res judicata.

                                   SIXTEENTH DEFENSE

       Plaintiff’s claims may be barred by the doctrine of absolute, official, qualified and

discretionary immunity.

                                 SEVENTEENTH DEFENSE

       Plaintiff’s claims may be barred by sovereign immunity and/or the public duty doctrine.

                                  EIGHTEENTH DEFENSE

       The District’s alleged conduct cannot give rise to any claim, as any conduct undertaken

was privileged.

                                  NINETEENTH DEFENSE

       The District reserves the right to amend its Answer to the Complaint and to raise any

additional defenses, which the evidence in discovery may reveal.




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                                        TWENTIETH DEFENSE

        Plaintiff has not pled the elements of a viable claim against the District under 42 U.S.C. §

1983.

                                             SET-OFF

        The District asserts a set-off against any judgment rendering against it for all payments

and other benefits provided to or on behalf of Plaintiff, including but not limited to all funds and

services provided to Plaintiff through public assistance, including Medicaid, Medicare, or other

sources.

                                        JURY DEMAND

        Answering Defendants hereby request a trial by jury on all issues so triable.

DATE: March 1, 2019                   KARL A. RACINE
                                      Attorney General for the District of Columbia

                                      GEORGE C. VALENTINE
                                      Deputy Attorney General
                                      Civil Litigation Division

                                      /s/ Michael K. Addo
                                      MICHAEL K. ADDO [1008971]
                                      Chief, Civil Litigation Division Section IV

                                      /s/ Benjamin E. Bryant
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                                      Counsel for Defendants the District of Columbia, Jeanette
                                      Myrick, Shelly Chisholm, and Kevin Proctor




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                                 CERTIFICATE OF SERVICE

          The undersigned counsel hereby certifies that on March 1, 2019, a true and correct copy

of the foregoing Answer was filed via ECF electronic filing and thereby served on all counsel of

record.

Dated: March 1, 2019                          /s/ Benjamin E. Bryant
                                              BENJAMIN E. BRYANT




                                                12.
